Case: 4:16-cr-00159-AGF Doc. #: 207 Filed: 04/26/18 Page: 1 of 1 PageID #: 2125



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
v.                                           ) No. S1-4:16 CR00159 AGF
                                             )
Loren Allen Copp,                            )
       a/k/a “Sensei,”                       )
                                             )
               Defendant.                    )

                                            ORDER

       Before the Court is the Government’s motion for sealing Government’s Trial Exhibits as

listed in the Government’s Final Exhibit List, Doc. #200.

       In accordance with Title 18 U.S.C.A. Section 3509(m)(1), “[i]n any criminal proceeding,

any property or material that constitutes child pornography (as defined by section 2256 of this

title) shall remain in the care, custody, and control of either the Government or the court.” Upon

consideration of the motion, and for the reasons stated therein and pursuant to Fed. R. Crim. P.

16(d)(1),

IT IS HEREBY ORDERED that the Government’s Exhibits be sealed.



                                              ______________________________
                                              Audrey G. Fleissig
                                              United States District Court Judge



                        April
Dated this 26th day of __________, 2018.
